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14                                    UNITED STATES DISTRICT COURT
                                           DISTRICT OF NEVADA
15
      LAS VEGAS SUN, INC., a Nevada                  Case No. 2:19-CV-01667-GMN-BNW
16    corporation,
17                       Plaintiff,
                                                     PLAINTIFF’S OPPOSITION TO
18
      v.                                             DEFENDANTS’ MOTION TO COMPEL
19                                                   LAS VEGAS SUN, INC. TO RESPOND TO
      SHELDON ADELSON, an individual and as          DEFENDANTS’ FIRST SET OF
20    the alter ego of News+Media Capital Group      REQUESTS FOR PRODUCTION (ECF
      LLC and as the alter ego of Las Vegas Review   NO. 77)
21    Journal, Inc.; PATRICK DUMONT, an
      individual; NEWS+MEDIA CAPITAL GROUP
22    LLC, a Delaware limited liability company;
23    LAS VEGAS REVIEW-JOURNAL, INC., a
      Delaware corporation; and DOES, I-X,
24    inclusive,

25                       Defendants.
26

27

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 1                           MEMORANDUM OF POINTS AND AUTHORITIES
 2    I.        INTRODUCTION
 3              The RJ1 is using the discovery process in this case to overreach into the Sun’s business
 4    operations to pilfer every minute detail of its financial, and editorial and reportorial operations. The
 5    RJ is doing so not in defense of this antitrust action, but rather in furtherance of the RJ’s
 6    monopolistic scheme to shutter the Sun. The RJ’s 166 Requests for Production of Documents and
 7    arguments as to why it needs the disputed information reveal the RJ’s motives. Preliminarily, the
 8    RJ’s requests are written in such a way that their defects are glaring from even the most basic
 9    reading. The RJ’s requests are so overbroad that fully responding to them would not only be
10    impossible, and in some cases cumulative and duplicative, but also unduly burdensome and
11    expensive, taking into account any benefit that might be achieved, the needs of the case, and the
12    significance of the issues. Indeed, the discovery in this antitrust action will necessarily be time
13    consuming and expensive; however, the RJ cannot use the discovery process as a sword, unduly
14    burdening the Sun to obtain information that is outside the scope of allowable discovery under Rule
15    26, particularly where the RJ seeks solely to perpetuate its predatory conduct already at issue in
16    this case. Here, the attempted monopolist has purposefully and specifically designed requests to get
17    even more information about not just its competitor in the JOA, but nonparty affiliates whose
18    businesses compete with the RJ’s other businesses, all of which are outside the JOA. Considering
19    the RJ’s anticompetitive activity to date, the RJ’s continued exploitation necessarily carries a hefty
20    risk, one that is far too dangerous to sanction in this process. The RJ’s discovery violates the proper
21    scope and limits of discovery under the Rules and must be denied.
22              In its Motion to Compel Las Vegas Sun, Inc. to Respond to Defendants’ First Set of
23    Requests for Production (“Motion,” ECF No. 77), the RJ distorts the relevancy lens this Court
24    considers during discovery disputes. One pleading is on file in this case, and it belongs to the Sun.
25    The RJ’s skewed adaptation of the Sun’s complaint cannot reframe the genuine issues in the case.
26

27    1
          Defendants are collectively referred to herein as the “RJ.”
28                                                      -1-


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 1    Because discovery can only be permitted where relevant to the actual claims, the RJ’s far-reaching,
 2    unspecific, and unrelated requests do not warrant granting the Motion.
 3             As discussed more specifically herein, the RJ asks this Court to compel the Sun to respond
 4    to five overreaching groups of requests. First, under the guise of testing the relevant market in this
 5    antitrust action, the RJ demands the Sun respond to overbroad and vague discovery requests about
 6    “competition” leaving the Sun to guess what possible documents, from what possible geographic
 7    location, and what possible products or services could be responsive. Second, the RJ indistinctly
 8    asserts the Sun’s damages are common losses or were caused by the Sun itself through
 9    mismanagement, and thus complete discovery on every aspect of not only the Sun’s finances, but
10    its non-party parent and affiliate entities must be had. The RJ’s miscomprehension of the types of
11    damages actually asserted by the Sun do not merit this invasive and inappropriate discovery.
12    Crucially, and undisputedly, the Sun’s sole revenue source is its Annual Profits Payments and the
13    RJ has not paid the Sun for years.
14             Third, the RJ complains that it should be allowed to pursue every possible legal theory in
15    support of its state court counterclaim under the pretext that it is merely testing the merits of the
16    Sun’s sham litigation assertions. The standard for determining whether the RJ’s post-arbitration-
17    loss assertion of a counterclaim is a sham is whether the RJ’s contract-based claims are “objectively
18    baseless.” Determining whether the RJ’s counterclaim is objectively baseless does not require any
19    discovery: The RJ’s counterclaim is governed by the JOA itself, and its merit can be determined as
20    a matter of law. Thus, due to the nature of the RJ’s counterclaims, the RJ’s numerous vague and
21    overbroad requests using its sham counterclaims as an excuse to dredge around into the Sun’s and
22    non-parties’ financial and editorial affairs are neither relevant, nor proportional to the needs of the
23    case.
24             Fourth, the RJ demands that the Sun either breach its confidentiality obligations, or, track
25    down the Review-Journal’s2 own predecessors to obtain waivers—for the second time—to release
26    the confidential settlement agreement and related documents from a previous litigation. Not only
27    2
          As used herein, the “Review-Journal” refers to the Las Vegas Review Journal newspaper.
28                                                     -2-


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 1    do these actions far exceed the scope of the Sun’s discovery obligations, but the RJ’s request is
 2    duplicative and astonishingly unnecessary because the RJ already has these documents from the
 3    first time it requested a waiver just last year.
 4             Finally, the RJ includes a catchall argument demanding the Sun produce all documents from
 5    non-parties Greenspun Media Group and lasvegassun.com. The RJ suggests the Sun is avoiding its
 6    discovery obligations by objecting to the requests. Not only are these entities not parties to the case,
 7    they are not parties to the JOA. The RJ’s myriad requests are not relevant to the Sun’s claims.
 8             Analyzing the Sun’s actual complaint shapes the discovery issues in this case, and the RJ’s
 9    requests far exceed the scope of discovery. As such, the RJ’s Motion is without merit and should
10    be denied.
11    II.      PERTINENT FACTUAL BACKGROUND3
12             The RJ misstates the facts,4 and the Sun corrects the following inaccurate statements:
13             Multiple tribunals have found that the RJ has improperly withheld the Sun’s Annual Profits
14    Payments. Yet, the RJ asserts that the Sun has been “complaining about the Sun’s compensation
15    under the 2005 JOA and suing the Review-Journal for more money, for nearly 15 years without
16    regard to who owned the Review-Journal.” ECF No. 77 at 4. The RJ seeks to diminish the Sun’s
17    legitimate concerns and characterize the Sun as litigious—irrespective of the Review-Journal’s
18    owner—to place itself in the same category as its predecessors. Yet, the RJ omits several significant
19    and undisputed facts. The Sun has been paid millions of dollars by the Review-Journal to resolve
20    prior accounting disputes—not because the Sun’s fears were unfounded, but because the Review-
21    Journal had improperly calculated the JOA accounting to the Sun’s detriment since the inception
22    of the JOA. E.g., ECF No. 1 ¶ 60. But even the RJ’s predecessors’ accounting violations were
23

24    3
        The Sun incorporates by reference the statement of facts from its Motion to Compel Production
25    of Documents. ECF No. 76.
      4
        The RJ asserts the “2005 JOA terminated and replaced an earlier JOA that was entered in 1989.”
26    ECF No. 77 at 4 n.4. This Court was left “unconvinced” by the RJ’s argument of the same in its
      motion to dismiss—“the Court believes that the 2005 JOA constitutes an amendment under the
27    NPA rather than an agreement ‘not already in effect.’” ECF No. 61 at 11-12.
28                                                       -3-


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 1    child’s play compared to the RJ’s violations and harm to the Sun under Adelson’s ownership. Lest
 2    the RJ forget, the RJ’s predecessors paid the Sun for their accounting violations.
 3             The Sun’s point is that Adelson exponentially increased the RJ’s improper practices—even
 4    after an arbitrator found the RJ improperly charged its own editorial and independent promotional
 5    costs to the joint operation, and thus improperly slashed the Sun’s compensation, the only source
 6    of funding for the Sun’s newsroom. See id. ¶¶ 70-785; see also ECF No. 39 at 40-41. The state
 7    court confirmed the arbitration award in its entirety, including requiring the RJ to correct its
 8    accounting going forward and to submit to an audit to identify the other wrongdoings. See Ex. 1;
 9    Ex. 2. These accounting corrections will result in tens of millions of dollars to the Sun, in historical
10    adjustments and righting the accounting going forward for the remaining term of the JOA, i.e., until
11    2040. Id.
12             Only after the RJ had lost in arbitration, and after the RJ was ordered to pay millions to the
13    Sun for some of its wrongdoings, and after the RJ was ordered to submit to an audit that will reveal
14    millions more are owed, did the RJ then seek leave to amend its answer and assert counterclaims
15    against the Sun threatening to terminate the JOA. See, e.g., ECF No. 39 at 41; see also ECF No.
16    39-1 (hereinafter “Counterclaim”). In other words, it was only after the RJ lost in arbitration and
17    was now prohibited from starving the Sun through accounting violations that the RJ filed its state
18    court counterclaims, looking for any and every basis to terminate the JOA despite that its asserted
19    bases are not termination events under the JOA. The RJ’s inference that it has always maintained
20    counterclaims against the Sun in the state court action, see ECF No. 77 at 4, is false. The RJ’s
21    counterclaims were brought in retaliation for the unfavorable arbitration ruling almost two years
22    after the Sun commenced the lawsuit to compel the RJ’s participation in the JOA-required audit
23    and arbitration process. The RJ’s threats of termination, coupled with the RJ’s other misconduct
24    described in the Verified Complaint, forced the Sun to file this case in this Court because of the
25    antitrust implications. See ECF No. 1.
26             When the Sun filed a motion to dismiss the RJ’s state court counterclaims, the state district
27    court instead stayed the state court action, and held the RJ’s claims in abeyance until after this Court
28                                                      -4-


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 1    adjudicates the Sun’s federal antitrust claims set forth in the Verified Complaint. See ECF No. 39
 2    at 32, 32 n.15.
 3    III.     STANDARD GOVERNING MOTIONS TO COMPEL DISCOVERY
 4             Federal Rule of Procedure 26(b)(1) provides that “[p]arties may obtain discovery regarding
 5    any nonprivileged matter that is relevant to any party’s claim or defense and proportional to the
 6    needs of the case . . . .” Generally, the party opposing discovery has the burden of showing that
 7    discovery is irrelevant or objectionable. V5 Techs. v. Switch, Ltd., 334 F.R.D. 306, 309 (D. Nev.
 8    2019), aff’d sub nom. V5 Techs., LLC v. Switch, LTD., No. 2:17-CV-2349-KJD-NJK, 2020 WL
 9    1042515 (D. Nev. Mar. 3, 2020). “Where a discovery request appears overbroad on its face,
10    however, the party seeking discovery has the initial burden of showing its relevance.” Casun Invest,
11    A.G. v. Ponder, No. 2:16-cv-2925-JCM-GWF, 2019 WL 2358390, at * 5 (D. Nev. June 4, 2019).
12             Relevance alone is not enough to warrant compelling a response, discovery must be
13    proportional to the needs of the case. See id. “Proportionality is a ‘common-sense concept’ that
14    should be applied to establish reasonable limits on discovery.” Id. The “proportionality” changes
15    to the Amendments were made to reduce the costs of discovery, and parties and the court must now
16    consider the proportionality factors when serving and responding to discovery. Adv. Comm. Notes
17    to 2015 Amendments to Fed. R. Civ. P. 26. Thus, a court “must limit the frequency or extent
18    of discovery otherwise allowed” if “the discovery sought is unreasonably cumulative or
19    duplicative, or can be obtained from some other source that is more convenient, less burdensome,
20    or less expensive . . . or [ ] the proposed discovery is outside the scope permitted by Rule 26(b)(1).”
21    Fed. R. Civ. P. 26(b)(2)(C).
22    IV.      AN ORDER COMPELLING PRODUCTION ON THE RJ’S REQUESTS IS NOT
23             WARRANTED
               Not only are the RJ’s requests written in a way that renders then impermissibly overbroad
24
      and unduly burdensome on their face, but throughout its Motion, the RJ distorts the allegations in
25
      the Sun’s antitrust complaint to argue that its requests seek relevant information. See generally ECF
26
      No. 77. The Sun’s complaint, the only pleading at issue, is a stark contrast to the RJ’s Requests.
27

28                                                     -5-


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 1    Examining the claims actually at issue in this case demonstrates the overbreadth, irrelevance, and
 2    duplicative nature of the Requests, and shows that the Requests are not proportional to the needs
 3    of the case. The same is true for the RJ’s requests for documents from non-party entities: that
 4    information is equally irrelevant and not proportional to the needs of the case. No order compelling
 5    production is warranted.
 6
               A.     The Sun should Not be Compelled to Respond to the RJ’s Overbroad Requests
 7                    for Documents Showing “Competition” as Written (Request Nos. 9-11)

 8              The RJ asks this Court to compel the Sun to produce all documents related to “competition”

 9    without any limitation to a geographical market or any particular product market. ECF No. 77 at 6-

10    8. The RJ argues that the requests are merely “regarding the relevant market,” as the Sun has alleged

11    an “implausible relevant market.” Id. at 6. The Sun does not dispute that part of proving its antitrust

12    claims includes establishing a relevant market and defendants typically challenge a plaintiff’s

13    definition of it. But the RJ’s requests as written are so overbroad and undefined, expansive, and

14    vague, that the Sun’s burden and expense of searching such general terms and reviewing over

15    100,000 documents are simply not proportional to the case. The RJ’s requests demanding that the

16    Sun produce documents that would prove that other “competition” exists is asking the Sun to prove

17    a negative, for no such competition exists. And without the RJ providing any specificity or tailoring

18    the Request in a fashion that would produce documents that are on topic leaves the Request

19    impermissibly broad. The RJ must do better.

20             In this action, the Sun must establish that the RJ has market power in a “relevant market,”

21    which includes a relevant product market and a relevant geographic market. See Newcal Industries,

22    Inc. v. Ikon Office Solutions, 513 F.3d 1038, 1044–45 & n. 3 & n. 4 (9th Cir. 2008). The relevant

23    product market establishes the boundaries within which competition meaningfully exists. Those

24    “commodities reasonably interchangeable by consumers for the same purposes” constitute a

25    product market for antitrust purposes. United States v. E.I. du Pont de Nemours & Co., 351 U.S.

26    377,     395    (1956);    Brown    Shoe    Co.    v.   United    States,   370    U.S.    294,    325

27    (1962). A relevant geographic market is an “area in which the seller operates, and to which the

28                                                      -6-


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 1    purchaser can practicably turn for supplies.” United States v. Phila. Nat’l Bank, 374 U.S. 321, 359
 2    (1963). The Sun alleged the relevant product market as the market for the sale of daily local
 3    newspapers, and the relevant geographic market is Clark County, Nevada. ECF No. 1 ¶¶ 36-40.
 4    The RJ contends that “newspapers, television, radio, and online news” must be considered
 5    economic substitutes and broad discovery is warranted to “settle the dispute[d]” relevant market
 6    definition. See ECF No. 77 at 6-7. In its opposition to the RJ’s motion to dismiss, however, the Sun
 7    cited to multiple courts that have recognized the same or similar relevant market in the newspaper
 8    industry that the Sun alleges here, while the RJ failed to cite to a single case analyzing the
 9    newspaper industry in support of its argument. See ECF No. 39 at 4-6; see also ECF No. 61 at 14
10    (“The Court is not convinced that [the Sun’s] proffered market is facially unsustainable,” or the
11    Sun’s market is “unnatural” or “artificial”).
12             The RJ asserts the Sun’s objections are “boilerplate” and the Sun is avoiding discovery
13    because it disputes the relevant market, ECF No. 77 at 6-8, however, the RJ knows this is wrong.
14    The Sun objected to the RJ’s Requests because they are overbroad as written and the Sun should
15    not be required to comb through 100,000 irrelevant and off-topic documents because of false hits
16    in the term “competition,” since the RJ refuses to narrow the request. For example, the RJ’s
17    Requests Nos. 9-10 ask for all documents that “discuss, describe, or refer to competition between
18    the Sun” and any other product or service. See, e.g., 78-4 at 6 (Request No. 10 asking for: “All
19    documents that discuss, describe, or refer to competition between the Las Vegas Sun Newspaper
20    and any person, product, or service.”) (emphasis added). These Requests have no limitation as to
21    product or service type, and no limitation regarding geography.
22             Such general discovery requests should not be permitted. When, as here, a party seeks
23    discovery that plainly exceeds the relevant market at issue, it is appropriate to deny a motion to
24    compel and limit discovery. See Rebel Oil Co v. Atlantic Richfield Co., 133 F.R.D. 41, 45 (D. Nev.
25    1999) (granting motion for protective order and barring discovery outside of plaintiff’s alleged Las
26    Vegas, Nevada, relevant geographic market); U.S. v. Capitol Service, Inc., 89 F.R.D. 578, 582
27    (E.D. Wis. 1981) (“[T]he actions of the distributors in other markets are not relevant . . . . The
28                                                    -7-


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 1    conspiracy alleged in this action is one involving only the Milwaukee market and, therefore, what
 2    the distributors do or did elsewhere is of no consequence”). The RJ’s lack of any geographic
 3    limitation alone renders the Requests overbroad.
 4             Nevertheless, the RJ makes a general statement that “courts order broad enough discovery
 5    to enable themselves to settle the dispute [of the relevant market scope],” ECF No. 77 at 9, but the
 6    RJ’s sole cited case for this proposition, which provides almost no analysis, does not contain
 7    requests written anywhere nearly as broadly as the RJ’s requests here. For example, in Riedel
 8    International, Inc. v. St. Helens Investments, Inc., the plaintiff alleged a “relevant market area for
 9    the production of fly ash i[n] the States of Oregon and Washington,” while one of the defendants
10    thought the geographic area was bigger than those two states and the product market included all
11    binding agents for concrete, not just fly ash. 633 F. Supp. 117, 119 (D. Or. 1985). The court granted
12    the defendant’s motion to compel specific requests that asked specifically for costs or prices of
13    cement or transportation of fly ash or cement purchased from other sources other than defendants.
14    Id. The defendant did not ask for “all’ documents regarding “competition” in any location.
15             Unlike Reidel, where the defendant narrowly tailored the requests, the RJ’s Requests here
16    are so overbroad that it would be unbelievably burdensome for the Sun to surmise what type of
17    competition and what locale the RJ means. The Sun told the RJ that a combination of searches
18    based on the terms of the Request (such as “Sun,” “newspaper,” “paper” and “compete” or
19    “competition”) yielded over 37,000 hits, and later informed the RJ that search of the word
20    “competition” or “compet!” combined with “Sun” yielded over 100,000 hits. ECF No. 78-5 at 12;
21    ECF No. 79-3 at 2. This is hardly surprising. The Sun is a newspaper that reports on all sorts of
22    news stories that affect the citizens of southern Nevada, which undoubtedly involves stories of
23    athletic, educational, commercial, and other types of competition. When the Sun asked the RJ if it
24    could make its requests more narrowly tailored, the RJ declined saying the requests were already
25    “very narrow.” ECF No. 79-3 at 2.
26             Critically, the RJ’s insinuation that the Sun’s initial search is valid because it yields “too
27    many potentially responsive documents” intentionally mischaracterizes the Sun’s position. ECF
28                                                      -8-


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 1    No. 77 at 8. Just because a search (like the ones described above) results in a “hit” does not make
 2    a document “potentially responsive.” The Sun should not be forced to spend thousands of hours in
 3    legal fees reviewing documents on such a search from an overly broad request. As written, the RJ’s
 4    motion to compel responses to Request No. 9-10 should be denied.
 5             Relatedly, the RJ’s Request No. 11 should be denied because it asks for documents related
 6    to the competition of lasvegassun.com specifically. See ECF No. 78-4 at 7. Lasvegassun.com is a
 7    separate entity that is not a party to the JOA and not a party to the Sun’s antitrust complaint. See
 8    ECF No. 39-5; ECF No. 1. Thus, any documents related to lasvegsasun.com’s “competition” are
 9    not relevant to the instant case, and disproportional to the needs of the case. See also §§ IV(C) &
10    (E) infra (further discussing relevance, proportionality, and confidentially concerns regarding the
11    RJ’s Requests of documents from non-parties Greenspun Media Group and lasvegassun.com).
12             B.     The Requested Sun’s Financial Documents are Not Relevant
13             The RJ’s requests for invasive, internal financial documents of the Sun, and non-parties
14    lasvegassun.com and Greenspun Media Group, are not relevant and wholly disproportional to the
15    needs of the case. The RJ attempts to reframe the Sun’s antitrust damages as generic “losses,” and
16    argues that it is therefore entitled to all financial documents of the Sun and the non-parties. See
17    ECF No. 77 at 8-9. The RJ asks for over seven years of all monthly, quarterly, and annual financial
18    statements, all sources of revenue, funding, and operating costs for the Sun and for non-party
19    lasvegassun.com, as well as extensive financial requests about non-party Greenspun Media Group,
20    its separate publications, and its ownership interests. ECF No. 78-5 at 84-91, 95-105. The RJ’s
21    shotgun discovery approach is improper—the Sun’s antitrust damages are much more focused and
22    these Requests should be denied as exceeding the scope of discoverable information under Rule
23    26.
24    ///
25    ///
26    ///
27

28                                                   -9-


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 1                    1.      The Sun’s Financial Documents are Not at Issue (Request Nos. 84-89, 92-
                              101, 162) 5
 2

 3             The RJ argues it should have access to all of the Sun’s financial documents, including its

 4    sources of funding, so it can “liberally test the Sun’s contentions in discovery” and find out what is

 5    causing the “Sun’s economic distress.” ECF No. 77 at 9-10. The RJ argues that if the Sun is not

 6    actually financially threatened or its difficulties are from other factors such as mismanagement, the

 7    Sun’s claim fails. Id. at 9. The RJ neglects to mention it includes non-parties Greenspun Media

 8    Corporation and lasvegassun.com in most of these Requests (e.g., Request Nos. 88-89, 92-93, 95-

 9    98, & 101), and for the reasons described in Sections IV(C) and (E) infra, these Requests are neither

10    relevant nor proportional. But even more germane, the RJ mischaracterizes the Sun’s damages,

11    ignoring the claims in the Sun’s complaint of the RJ’s harm to its brand and business. The RJ also

12    omits the fact that the only source of revenue to fund the Sun’s newsroom comes from the JOA,

13    and the RJ’s anticompetitive conduct since its purchase of the Review-Journal, including

14    plummeting the JOA’s EBITDA calculation negative and therefore the Sun’s Annual Profit

15    Payments to zero since 2016. See ECF No. at 6-7, 9-10. The RJ should not be allowed to fabricate

16    issues in order to further its effort to force the Sun out of the JOA—the RJ’s attempt to discover

17    these aspects of the Sun’s financial status—and the non-parties’ financial operations—has nothing

18    to do with discovering alternate causes of the Sun’s financial distress. The RJ is trying to ascertain

19    the inner-workings of the Sun to discover how hard it has to push before the Sun folds.

20             “Discovery regarding a party’s financial condition may be obtained if it is relevant to the

21    claims or defenses in the case.” Fosbre v. Las Vegas Sands Corp., No. 2:10-cv-00765-APG-GWF,

22    2016 WL 54202, at *4 (D. Nev. Jan. 5, 2016). If the requests are “based on speculative assertions”

23    or “of only marginal relevance,” discovery need not be permitted. Id.

24
      5
25      The RJ moves to compel production of Requests Nos. 99-100 and 162. See ECF No. 77 at 8. But
      after the meet and confer, the Sun notified the RJ it would supplement its responses to indicate that
26    there are no documents responsive to Request Nos. 99-100, and it would be producing documents
      responsive to Request No. 162. See ECF No. 79-3 at 3. Thus, it is unclear what the RJ asks this
27    Court to do for these Requests.
28                                                    - 10 -


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 1             Here, there are no defenses asserted by the RJ at issue, just the Sun’s claims. In its Verified
 2    Complaint, the Sun stated it has been damaged in two ways. First, the Sun has been harmed “as a
 3    result of the fraudulent and deficient profits payments to the Sun by [the RJ].” E.g., ECF No. 1
 4    ¶ 126. Second, the Sun has been harmed by “the diminished value to the Sun’s brand and business.”
 5    Id.
 6             First, regarding the JOA profit payments, the RJ exclusively controls, administers, and
 7    processes the JOA Annual Profit Payments to the Sun as well as all financial data required for any
 8    JOA calculation. Compared to traditional antitrust litigation, the circumstances here are
 9    exceptionally unique. The RJ not only has the records of all of the Annual Profits Payments (which
10    have been nothing for the past three years), it is the RJ that unilaterally calculates and determines
11    the same. This is unlike the case cited by the RJ discussing possible alternative factors of a
12    plaintiff’s claim of lost profits. See ECF No. 77 at 7 (citing Pac. Exp., Inc. v. United Airlines, Inc.,
13    959 F.2d 814, 818 (9th Cir. 1992) for the proposition that there the plaintiff’s losses were from
14    increased competition, not from defendant’s behavior). Unlike other antitrust litigation involving
15    unrelated competitors, the parties here are in a JOA and the Sun’s only source of revenue derives
16    from the JOA Annual Profit Payments. Diving into the Sun’s financials will not reveal an
17    “alternative” factor for the Sun’s losses—the RJ controls the JOA accounting and the Sun’s
18    financials are not an input into any JOA calculation. Because the JOA cedes control of all
19    advertising and circulation functions for the joint newspaper product to the RJ (advertising and
20    circulation revenue being the two sources of revenue a newspaper receives), the JOA profit
21    payments are the Sun’s sole mechanism to fund its newsroom. See ECF No. 39-5 at 25-26. The
22    RJ’s requests are analogous to a general partner who is in control of the management of the
23    partnership and once sued for violations or mismanagement of the partnership by the limited
24    partners, requests all of the limited partners’ individual financials in discovery. This is not how
25    discovery works under Rule 26.
26             Moreover, the RJ’s Requests are nonsensical. For instance, in Request No. 92, the RJ
27    requests “[a]ll documents that discuss, refer, or relate to the use by Greenspun Media Group of
28                                                     - 11 -


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 1    profit payments paid under the 2005 JOA to fund the operations of the Las Vegas Sun Website.”
 2    ECF No. 78-5 at 93. The RJ is well aware of how absurd this request is because it is the RJ, itself,
 3    who has recorded negative EBITDAs every year since fiscal year-ending March 31, 2017, and has
 4    paid zero dollars to the Sun for the last three years. See ECF No. 1 ¶¶ 70-74. Irrespective of the
 5    fact that both Greenspun Media Group and lasvegassun.com are not parties to the suit, and neither
 6    are parties to the JOA, the RJ’s request asks the Sun to show where its zero profits payments have
 7    been spent. This Request, and the like (e.g., Request No. 93), are senseless.6
 8             In sum, compelling the Sun to produce financial documents showing, for example, its
 9    “operating costs” is pointless when it is the absence of compensation (from the RJ’s control of the
10    JOA accounting) that has caused the harm. Any claim by the RJ that an examination “may reveal
11    alternate causes for any economic woes” is absurd under these circumstances and the parties’
12    relationship under the JOA. ECF No. 77 at 10. The RJ—in complete control of all non-editorial
13    functions of the JOA—has manipulated the JOA accounting to ensure the Sun gets nothing—yet
14    the RJ demands to discover how the Sun has spent the zero dollars. Again, the RJ’s requests demand
15    that the Sun prove a negative, simply because that negative fits within the RJ’s contrived argument
16    to explore every crevice of the Sun’s operations. The Sun’s asserted claims that the RJ has cheated
17    it by reducing payments to zero dollars do not grant the RJ a right to fish through the Sun’s finances.
18    See ECF No. 1 ¶ 67.
19             Regarding the Sun’s second area of damages, those damages relate to the Sun’s brand and
20    business. The value of the Sun’s brand and business stems from, among other things, its editorial
21    and news-gathering efforts, and its efforts to boost its bargaining position when the JOA is up for
22    re-negotiation or separation in 20 years. E.g., United States v. Daily Gazette Co., 567 F. Supp. 2d
23    859, 870 (S.D.W. Va. 2008).
24

25
      6
       Most of the RJ’s Requests ask for documents going back six years before the filing of the Sun’s
26    complaint, that is, since September 24, 2013. See ECF No. 78-4 at 3. The RJ, however, did not
      acquire ownership of the Review-Journal until December 10, 2015, and thus the Sun has also
27    objected to this overbroad scope. See ECF No. 1 ¶ 7.
28                                                    - 12 -


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 1             Here, the value of the Sun’s brand and business is indisputably connected to the JOA. About
 2    five years ago, the RJ’s predecessor bought the profitable Review-Journal, 8 other daily newspapers
 3    in multiple states, 65 weekly and niche publications (with assets having a combined average daily
 4    circulation of approximately 221,000 and 244,000 on Sunday) for $102.5 million, and just 9 months
 5    later sold the Review-Journal alone to the Defendants for $140 million.7 But since the purchase,
 6    the RJ has plunged its operations and financials into a calculated disaster that has caused harm to
 7    the Sun’s brand and business. The RJ’s purposeful omission of the Sun in equal prominence in all
 8    promotional materials, despite the mandates of the JOA, has caused harm to the Sun’s brand and
 9    business. See ECF No. 1 ¶¶ 47-51, 97-110. The RJ’s deliberate and improper charging of its
10    editorial costs to the JOA accounting and withholding of profit payments to the Sun has caused
11    harm to the Sun’s brand and business. Id. ¶¶ 86-96. The RJ’s unilateral changing of the format of
12    the front page and covering the Sun’s noticeable mention has caused harm to the Sun’s brand and
13    business. Id. ¶¶ 111-14. It is these circumstances that frame the damages the Sun has faced—not
14    what the RJ proffers.
15             Certainly, the harm to the value of the Sun’s brand and business will be disputed by the
16    parties and will be subject to expert testimony. The Sun has indicated that it would produce these
17    expert materials consistent with the discovery plan and scheduling order. E.g., ECF No. 79-1 at 46-
18    47 (responding to Request No. 162 regarding damages to the Sun). But the determination of the
19    harm does not stem from the RJ’s framing of the Sun’s damages, and no examination of the Sun’s
20    internal accounting is warranted. It has nothing to do with the Sun’s operating costs or the salaries
21    of its employees, not those of Greenspun Media Group or lasvegassun.com employees.
22             The discovery here should be relevant to the claims in this case. Consequently, the Court
23    should not order production of the Sun’s internal financial records and sources of funding (Request
24    7
       See James DeHaven, Jim Myers, & Ben Botkin, Sheldon Adelson’s Newspaper Buy has Nevadans
      Talking, and some Fretting, LAS VEGAS REV. J. (Dec. 17, 2015), available at
25    https://www.reviewjournal.com/local/local-las-vegas/sheldon-adelsons-newspaper-buy-has-
      nevadans-talking-and-some-fretting/; Business Wire, New Media Completes Acquisition of
26    Stephens       Media,       LLC        (March         18,       2015),     available    at
      https://www.businesswire.com/news/home/20150318006221/en/New-Media-Completes-
27    Acquisition-Stephens-Media-LLC.
28                                                    - 13 -


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 1    Nos. 84-87, 94), lasvegassun.com’s financial records or sources of funding (Request Nos. 88-89,
 2    95), Greenspun Media Group’s financial records (Request Nos. 92-93), or documents related to
 3    Greenspun Media Group’s ownership interests in the Sun (Request Nos. 96-98), as these items are
 4    not relevant to the Sun’s claims.
 5                    2.     The Sun Properly Offered to Produce Sufficient Documents regarding
                             Layoffs, but the RJ Refused (Request Nos. 62-65)
 6

 7             The RJ demands that the Sun produce documents “sufficient to identify” all of the Sun’s
 8    staff (and the night staff), including their names, positions, and their salaries, before and after the
 9    layoffs as described in the Sun’s complaint. See ECF No. 78-5 at 58-63. Given the third-party
10    privacy concerns and the confidential and proprietary information at issue, the Sun offered to
11    produce documents that redacted the employees’ names, but maintained the job title, compensation,
12    and applicable termination dates. See ECF No. 79-3 at 2. Notably, the RJ previously litigated that
13    the Sun, its competitor, could not see any of the RJ’s employee lists or salaries, and thus the format
14    the Sun proposed was similar to the RJ’s previous productions of employee information, given both
15    the sensitive and proprietary information and the constrictions of the JOA.8 The RJ refused the
16    Sun’s offer. See ECF No. 79-3 at 2. The Sun nevertheless stated it would provide the list in this
17    format once a protective order is in place, with Attorneys’ Eyes Only designation. Id.
18             The information the RJ claims it needs “to test the veracity of the Sun’s allegations, and
19    probe the Sun’s attempt to attribute these layoffs to [the RJ],” would be available to the RJ in the
20    Sun’s proposed form. ECF No. 77 at 11. Indeed, the number of employees before and after the
21    layoffs is all that is needed. The RJ cannot legitimately argue that the employees’ identities are
22    needed, especially given the RJ’s history of poaching the Sun’s staff. See ECF No. 76 at 16-18. The
23    Sun’s proposed format satisfies the RJ’s Requests without treading on privacy concerns.
24    8
        The JOA allows only the Sun to audit the books and records of the RJ. Compare ECF No. 39-10
25    at 41-84 with id. at 86-110. And even then, the confidentiality constraints prevent disclosure of
      “any specific individual salary information” or “individual employees.” See id. at 108. And thus,
26    even with a stipulated protective order in place with available “Attorneys’ Eyes Only” language,
      the RJ redacted its individual employee names in its arbitration production, because of the extreme
27    proprietary issues at stake.
28                                                    - 14 -


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 1             C.     The RJ’s Amendment of its Answer in State Court to Assert “New” Contract-
                      Based Counterclaims Following its Arbitration Loss Is Sham Litigation that
 2                    can be Decided as a Matter of Law (Request Nos. 81-83, 102-04, 108-09, 111-
 3                    29, 130-32, 136-56)

 4             The scorch-the-earth discovery the RJ asks this Court to compel, all in the name of

 5    discovering the merits of “sham litigation,” is a red herring. The RJ has not filed any answer or

 6    counterclaim in this case—the discovery it seeks is to hopefully uncover support for its baseless

 7    Counterclaim in state court. Here, discovery is not needed on the RJ’s Counterclaim, because

 8    whether the Counterclaim is sham litigation is decided as a matter of law. None of the RJ’s

 9    Counterclaims are valid grounds to terminate the JOA. First, the RJ’s Counterclaim in state court

10    fails—the RJ essentially asks the court to be the “super-editor-in-chief” judging the quality of its

11    competitor newspaper in its quest to judicially establish the Sun’s editorial content falls short of

12    some undefined bar. Courts are prohibited from these types of First Amendment adjudications.

13    Second, the RJ’s Counterclaim seeks termination under the JOA, but the JOA only permits

14    termination on three bases, none of which are present here. What is more, the RJ’s Counterclaim

15    undeniably triggers antitrust implications, mandating federal court jurisdiction—thus, the RJ’s

16    filing its Counterclaim in state court further renders its Counterclaim objectively baseless. Even if

17    there was marginal merit to the RJ’s Counterclaims, the RJ’s sweeping discovery requests are in

18    staggering disproportion to the needs of this case.

19                    1.     The Sham Litigation9 can be Decided as a Matter of Law
20             The RJ’s Counterclaim fails as a matter of law. In its Counterclaim, the RJ alleges four
21    “causes of action” all based on the JOA—first, a breach of contract including that the Sun has
22

23    9
        Generally, the Noerr-Pennington doctrine provides immunity from the act of petitioning the
      government for redress. Kearney v. Foley & Lardner, LLP, 590 F.3d 638, 643-44 (9th Cir. 2009).
24
      Under the “sham” litigation exception to the Noerr-Pennington doctrine, immunity is not extended
25    to those “who resort to sham or unfounded litigation solely for anti-competitive purposes.” Ca.
      Motor Transp. Co. v. Trucking Unlimited, 404 U.S. 508, 510 (1972). Litigation that is “simply an
26    effort to interfere directly with a competitor . . . is not entitled to first amendment protection,
      because it is not an exercise of first amendment rights.” Clipper Express v. Rocky Mountain Motor
27    Tariff Bureau, Inc., 690 F.2d 1240, 1256 (9th Cir. 1982) (emphasis added).
28                                                   - 15 -


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 1    undermined the quality of the Sun newspaper “for the purpose of diverting readers” to
 2    lasvegassun.com, the Sun has not preserved “high standards of newspaper quality,” and the Sun
 3    has “improperly diverted sales and profits from the JOA and the Review-Journal to the Sun’s other
 4    businesses”; second, a breach of implied covenant of good faith and fair dealing based upon the
 5    same; third—declaratory relief seeking termination for material breach based on the Sun’s
 6    purported “lack of high standards of newspaper quality” and the “Sun’s breaches are incurable”
 7    mandating a judicial declaration terminating the JOA; and fourth, declaratory relief seeking
 8    termination for frustration of purpose because the JOA did not foresee “smartphones and mobile
 9    devices” and the purpose of the NPA is frustrated. ECF No. 78-3 at 38-41. Critically, the RJ’s
10    Counterclaim glaringly describes part of the second basis for termination for default, which requires
11    a written notice of breach and a 60-day opportunity to cure. See ECF 78-3 at 40; see also ECF No.
12    39-5 at 8 (§ 9.1.2). The RJ admits it never provided any such notice to the Sun, avoiding its
13    contractual requirements by unilaterally pronouncing the “Sun’s breaches are incurable.” ECF 78-
14    3 at 40.
15               Regarding sham litigation, the suit must first “be objectively baseless in the sense that no
16    reasonable litigant could realistically expect success on the merits.” Professional Real Estate
17    Investors, Inc. v. Columbia Pictures Indus., Inc., 508 U.S. 49, 60 (1993). Second, “the court should
18    focus on whether the baseless lawsuit conceals an attempt to interfere directly with the business
19    relationships of a competitor, through the use of the government process —as opposed to
20    the outcome of that process—as an anticompetitive weapon.” Id. at 60-61 (citations and quotations
21    omitted). “Only if challenged litigation is objectively meritless may a court examine the litigant’s
22    subjective motivation.” Id. at 60. While the question of whether litigation is a sham could be a fact
23    question for the jury, where there is no question about the facts of the underlying litigation, courts
24    may decide the issue as a matter of law. Id. at 63. Thus, the threshold issue is whether the RJ’s
25    Counterclaim, asserted after its loss in arbitration, is objectively baseless. This analysis is based
26    upon a matter of law, not of fact, and thus, the RJ’s scorch-the-earth discovery requests attempting
27    to uncover purported support for its baseless Counterclaim is not relevant to the Sun’s claims, and
28                                                      - 16 -


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 1    not proportional to the case. The RJ should not be allowed to use the discovery process to
 2    investigate every aspect of the Sun’s business operations, including its strict autonomous editorial
 3    and reportorial functions and decision-making processes, under the RJ’s false claims that it must
 4    prove the factual merits of its sham litigation.
 5             The Sun first alleges that the RJ’s Counterclaim, which contends the JOA should be
 6    terminated because the Sun breached the JOA by “fail[ing] to meet the JOA’s required high
 7    standards of newspaper quality,” is “bogus” and “objectively baseless” and “unreasonable.” ECF
 8    No. 1 ¶ 108. Whether the RJ’s Counterclaim is sham litigation can be decided as a matter of law.
 9    Besides the JOA providing the Sun has exclusive control over its editorial content, the RJ cannot
10    invoke its First Amendment right to petition for the purpose of exploiting the judicial process to
11    infringe on the First Amendment rights of the Sun—indeed, courts are prohibited from granting the
12    type of relief the RJ’s Counterclaim requests. Courts, as state actors, are not permitted to adjudicate
13    the “editorial control and judgment” of the press. See e.g., Miami Herald Pub. Co. v. Tornillo, 418
14    U.S. 241, 258 (1974); see also ECF No. 39 at 18-20 (citing additional cases). Yet, this is exactly
15    what the RJ has asked in its Counterclaim.
16             To be precise, the RJ’s Counterclaim wants a court to adjudicate the Sun materially
17    breached the JOA, by analyzing the “quality of the Sun’s content.” ECF No. 77 at 13 (emphasis
18    added). Besides this examination by a court being wholly improper, it is laced with unfortunate
19    irony—the RJ has manipulated the JOA accounting to ensure that, for over three years, the Sun’s
20    compensation has been nothing (zero dollars), while simultaneously criticizing the Sun’s quality in
21    the same time period. What is more, the RJ has no authority to critique the Sun’s editorial content;
22    Section 5.2 of the JOA plainly provides “[the] Sun shall have exclusive and complete control,
23    authority and direction over the news and editorial content, features and services to be furnished
24    by [the] Sun to [the] Review-Journal to be included in its newspaper . . . .” ECF No. 39-5 at 6
25    (emphasis added). The RJ’s Counterclaim is simply impermissible and baseless, and the RJ’s
26    motion to compel the RJ’s numerous, broad Requests should be denied.
27

28                                                       - 17 -


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 1             Second, the RJ’s Counterclaim seeks an order from the Court terminating the JOA based
 2    on the judicial declaration of the Sun’s alleged lack of quality or frustration of purpose, which
 3    would end printing and circulation of the Sun in the Las Vegas community entirely. See ECF No.
 4    78-3 at 39-42. But this too, is baseless as a matter of law. Unlike the 1989 JOA, the JOA provides
 5    only three allowable terminable events, none applicable here. See ECF No. 39-5 at 8. Indeed,
 6    “[s]ubject to the termination provisions set forth in Article 9, the Restated Agreement shall continue
 7    for an initial period at the close of business on the 31st day of December of the fiftieth (50th) year
 8    from July 1, 1990.” ECF No. 39-5 at 3 (emphasis added). The RJ has petitioned a court for
 9    something it knows is not allowed under the law or the contract.
10             Last, the RJ’s abnormal forum selection of state court further reveals the RJ’s Counterclaim
11    is objectively baseless. Terminations of JOAs undeniably involve antitrust implications. E.g., U.S.
12    v. Daily Gazette Co., 567 F. Supp. 2d 859 (S. D. W. Va. 2008) (where DOJ filed suit against a
13    newspaper in a JOA alleging violations of federal antitrust laws after the paper gained control of
14    the other newspaper’s assets and therefore could terminate the publication at any time). The state
15    district court here recognized as much during the hearing on the Sun’s motion to dismiss or
16    alternatively stay the proceedings of the state court action pending the resolution of the instant case.
17    See ECF No. 39 at 32.
18             In sum, the RJ’s assertion the “Sun put the merits of the counterclaims at issue” neglects
19    that whether the RJ’s Counterclaim is objectively baseless can be decided as a matter of law. The
20    RJ’s across-the-board discovery is not warranted.10
21    ///
22    ///
23    ///
24
      10
        As written, most of the purported Counterclaim Requests are also vague and overbroad, and the
25    Sun objected on this basis as well. For example, Request No. 137 asks for “all documents that
      discuss, refer, or relate to the quality” of the Sun newspaper. ECF No. 79-1 at 14-15. An initial
26    search of the terms “quality” and “Sun” produced over 130,000 hits; these numbers are not
      surprising considering the Sun is a newspaper investigating and publishing articles about all sorts
27    of topics.
28                                                     - 18 -


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 1                    2.      The RJ’s Discovery Requests are Irrelevant, Impermissibly Overbroad and
                              Disproportional, Seeking Burdensome Discovery of a Competitor Non-Party
 2

 3             Within these across-the-board Requests, the RJ is also seeking documents regarding a

 4    competitor to the RJ’s digital operations. See ECF No. 78-4 at 18, 20-24, 27-29 (Request Nos. 83,

 5    102-04, 108-09, 111-29, 146-56). Such widespread, intrusive discovery into the RJ’s direct

 6    competitor is neither relevant nor proportional.

 7             Besides granting the Sun exclusive control over its editorial content (a requirement of the

 8    Newspaper Preservation Act), the JOA also acknowledges the Newspapers’ websites are separate.

 9    Section 10.6 of the JOA provides, in part, the “Sun shall have the right to republish, license or

10    otherwise use its editorial content in any form or media.” ECF No. 39-5 at 10 (emphasis added).

11    Lasvegassun.com is simply outside the JOA, and outside the scope of any possible “breach” of the

12    JOA. The RJ’s delving into the editorial decisions and conduct of its competitor is improper and

13    unwarranted. See, e.g., ECF No. 78-5 at 81-82 (Sun’s objection Request No. 83); see also ECF No.

14    39-5 at 10 (Section 10.6 of the JOA providing, in part, “Sun shall have the right to republish, license,

15    or otherwise use its editorial content in any form or media”); id. at 11 (Section 10.12 of the JOA,

16    entitled “Ancillary Publications” providing in part, that “[n]othing in this Restated Agreement shall

17    preclude either party from engaging in any lawful business outside of this Restated Agreement”).

18    Because the JOA purposefully excludes lasvegassun.com, the RJ’s Requests are a fishing

19    expedition, and are neither relevant nor proportional to the needs of the case.11

20             D.     Despite the RJ Admitting that It Possesses the Settlement Agreement at Issue,
                      the RJ Nevertheless Demands the Sun Breach the Confidentiality Agreement
21                    with Third Parties and Demands the Sun Obtain Waivers from the RJ’s
22                    Predecessors (Request Nos. 163-64)
               The RJ’s first laments about the Sun’s prior settlement with the RJ’s predecessors,
23
      suggesting the Sun has a pattern of litigating and maybe, just maybe, the Sun’s complaints in the
24

25    11
        It must be reiterated that the RJ has access to all of the Sun’s articles published in the newspaper,
      and other articles are available on the lasvegassun.com. Rule 26(b)(2)(C) requires the Court to limit
26    discovery from a party where the discovery sought . . . can be obtained from some source that is
      more convenient, less burdensome, or less expensive . . . .” In this case, it is more convenient, less
27    burdensome and less expensive for the RJ to find what it is looking for, then for the Sun to guess.
28                                                     - 19 -


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 1    instant case were waived. ECF No. 77 at 16-17. The RJ again omits the Sun’s complaints about the
 2    RJ and its predecessors’ improper accounting were well-founded; multiple tribunals have now
 3    agreed with the Sun’s position. But yet, the RJ still wants to undo the past and it therefore seeks the
 4    “negotiations and settlements” of the disputes with the RJ’s predecessors, to hypothetically see if
 5    the “Sun has released or otherwise waived any of the claims that it is seeking to press here.” Id. at
 6    16. The RJ cites to no potential claim. See generally id. at 16-17. The RJ also neglects to mention
 7    it (1) already has the confidential settlement document at issue, as well as any communications or
 8    documents from that case to evaluate its hypothetical presumptions here; and (2) its former counsel
 9    represented all of the Review-Journal’s owners.
10             To be clear, the RJ’s former counsel represented the RJ’s predecessors in the previous
11    lawsuit and settlement, and up until February 10, 2020, this same counsel was still counsel of record
12    for the RJ in the current state court action. Ex. 3. To recall, the Sun filed its complaint in this Court
13    on September 24, 2019. See ECF No. 1. Accordingly, the RJ has had almost half of a year to discuss
14    these issues with its counsel and consider its hypothetical theories.
15             The RJ instead contends that it is the Sun’s obligation to produce all of the related
16    documents. ECF No. 77 at 16-17. During the meet and confer, the Sun pointed out what the RJ
17    already knows. The settlement agreement with the RJ’s predecessor was confidential, and just like
18    during the recent arbitration, a waiver from all of the RJ’s predecessors is necessary before any
19    release is possible. Despite the RJ’s claim as such, see ECF No. 77 at 17, it is not the Sun’s
20    obligation to obtain waivers from the RJ’s predecessors, especially when the RJ already has the
21    documents. See, e.g., Moreno v. Autozone, Inc., No. C-05-4432 CRB (EMC), 2008 WL 906510, at
22    *1 (N.D. Cal. Apr. 1, 2008) (“Given that [the party’s] former counsel appears to be in possession
23    of the documents at issue because it was representing [the party], [the party] should have the legal
24    right to obtain the documents from former counsel on demand.”); see also Convertino v. U.S. Dep’t.
25    of Justice, 565 F. Supp. 2d 10, 14 (D.D.C. 2008) (finding that responsive documents in the
26    possession of an attorney representing the responding party on another legal matter were within the
27    party’s control as that term is understood in discovery).
28                                                     - 20 -


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 1             To the extent the RJ feigns ignorance of the previous lawsuit, the disputes at issue, or the
 2    terms of the settlement, this is just wrong. See generally ECF No. 77 at 16-17. The RJ was aware
 3    of the ongoing dispute at the time of the Review-Journal’s purchase. See ECF No. 1 ¶¶ 7, 60-61. In
 4    fact, the RJ made similar arguments in the state court action, that the RJ’s mere “continuation” of
 5    its predecessors’ accounting practices somehow was part of the previous settlement, which the state
 6    district court rejected. See Ex. 4 at pp. 7-8; Ex. 5. In fact, after the briefings and hearing on the
 7    motion to dismiss, the state court directed the RJ to make these waiver/release claims to the
 8    arbitrator. See id.; see also Ex. 6 at pp. 15-22, 44-51 (where after arguing the Sun released or waived
 9    claims through the settlement with the previous owners, the court found the arbitrator must decide
10    the issue). While the RJ forewent filing its motion to dismiss on this basis in the arbitration, it raised
11    waiver and other equitable defenses, which the arbitrator rejected and the state district court
12    confirmed. See Ex. 2.
13             The RJ already has the settlement documents, and requiring the Sun to obtain waivers from
14    the RJ’s own predecessors and reproduce these documents for the RJ is unnecessary, duplicative,
15    and burdensome. See Fed. R. Civ. P. 26(b)(2)(C) (“[T]he court must limit the frequency or extent
16    of discovery otherwise allowed by these rules or by local rule if it determines that: (i) the discovery
17    sought is unreasonably cumulative or duplicative, or can be obtained from some other source that
18    is more convenient, less burdensome, or less expensive.”). As such, the Sun should not be
19    compelled to produce these documents.
20             E.     Non-Parties Greenspun Media Group and lasvegassun.com are Outside the
21                    Scope of Discovery

22             The RJ’s blanket demand that this Court should order the Sun to produce documents from
23    nonparties Greenspun Media Group and lasvegassun.com overlooks that the Requests are not
24    relevant to any claim (or nonexistent defenses or counterclaims) in this litigation.12 The RJ portrays
25

26    12
        The RJ also sent a subpoena to non-party Greenspun Media Group containing 158 overly broad
      requests copied nearly verbatim from the RJ’s first set of requests for production to the Sun.
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 1    the Sun’s sole objection as deflection, that documents are not in the Sun’s possession. See ECF No.
 2    77 at 17-18. This is not accurate: the problem is much more fundamental. The RJ requests
 3    production of irrelevant documents that also contain confidential and/or proprietary commercial
 4    information of nonparties, which are not proportional to the needs of the case.
 5             Of the 79 Requests the RJ has moved this Court to compel, 46 of these ask for documents
 6    from Greenspun Media Group and/or lasvegassun.com. See generally ECF No. 77. Neither
 7    Greenspun Media Group nor lasvegassun.com are parties to the JOA, and the operations of both
 8    are outside the JOA. To be sure, the scope of applicable discovery is shaped by the parties’
 9    pleadings, including the allegations that a party has “put in controversy.” In re MGM Mirage Sec.
10    Litig., No. 2:09-CV-1558-GMN, 2014 WL 6675732, at *3 (D. Nev. Nov. 25, 2014). But the only
11    pleading here is the Sun’s complaint.
12             The RJ’s probing into outside entities’ documents that are unrelated to the pleadings should
13    be prohibited. As described in Section IV(C) supra, any Requests demanding documents from
14    Greenspun Media Group or lasvegassun.com relating to the RJ’s Counterclaim, whether it be
15    Greenspun Media Group or lasvegassun.com’s financials, the “quality” of lasvegassun.com website
16    or any related editorial considerations are not relevant. The JOA expressly provides that any news
17    and editorial decisions made by the Sun are matters beyond the scope of the JOA. See, e.g., ECF
18    No. 1 ¶ 64. Section 5.2 of the JOA plainly and unambiguously provides that “[p]reservation of the
19    news and editorial independence and autonomy of both the Review-Journal and the Sun is of the
20    essence of this Restated Agreement.” ECF No. 39-5 at 6 (emphasis added). The JOA further
21    acknowledges both parties participate in other businesses outside of the JOA. See id. at 11 (§ 10.12).
22             Furthermore, these non-parties’ financial and operational information contains confidential
23    commercial information, which is also not relevant and not proportional to the needs of the case.
24    See, e.g., Cain v. Price, 415 P.3d 25, 30 (Nev. 2018) (“[D]ue to privacy concerns and the potential
25    for abuse and harassment, a defendant’s personal financial information cannot be had for the mere
26    asking.”) (internal quotation marks omitted); cf. Scientific Games Corp. v. AGS LLC, No. 2:17-cv-
27    00343-JAD-NJK, 2018 WL 2292811, at *3 (D. Nev. May 18, 2018) (“The determination of
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 1    substantial need is particularly important in the context of enforcing a subpoena when discovery of
 2    trade secret or confidential commercial information is sought from non-parties.”); Gradillas Court
 3    Reporters, Inc. v. Cherry Bekaert, LLP, 2018 WL 2197544, at *6 (N.D. Cal. May 14, 2018) (noting
 4    that another case “den[ied] request for production after finding that the records were not essential
 5    to proof of damages as claimed by the plaintiff, and that the harm of disclosure to the third-party is
 6    greater than the value to the plaintiff”) (internal quotation marks omitted). Thus, an order producing
 7    documents from Greenspun Media Group and lasvegassun.com is not warranted.
 8    V.       CONCLUSION
 9             In light of the foregoing reasons, the Sun respectfully requests that this Court deny the RJ’s
10    Motion.
11             DATED this 6th day of July, 2020.
12                                                     LEWIS ROCA ROTHGERBER CHRISTIE LLP
13

14                                                       By: /s/ E. Leif Reid
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25                                                              Attorneys for Plaintiff

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 1                                     CERTIFICATE OF SERVICE
 2             Pursuant to Federal Rule of Civil Procedure 5(b), I certify that I am an employee of Lewis
 3    Roca Rothgerber Christie LLP, and that on the 6th day of July, 2020, I caused the foregoing
 4    PLAINTIFF’S OPPOSITION TO DEFENDANTS’ MOTION TO COMPEL LAS VEGAS
 5    SUN, INC. TO RESPOND TO DEFENDANTS’ FIRST SET OF REQUESTS FOR
 6    PRODUCTION (ECF NO. 77) to be served by electronically filing the foregoing with the
 7    CM/ECF electronic filing system, which will send notice of electronic filing to:
 8                    J. Randall Jones, Esq.
 9                    Michael J. Gayan, Esq.
                      Mona Kaveh, Esq.
10                    KEMP JONES, LLP
                      3800 Howard Hughes Parkway, 17th Floor
11                    Las Vegas, Nevada 89169
12
                      Richard L. Stone, Esq.
13                    Amy M. Gallegos, Esq.
                      David R. Singer, Esq.
14                    JENNER & BLOCK LLP
                      633 West 5th Street, Suite 3600
15                    Los Angeles, California 90071
16
                                                             /s/ Autumn D. McDannald
17                                                      Employee of Lewis Roca Rothgerber Christie LLP

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 1                                       INDEX OF EXHIBITS
 2      Exhibit No.                             Description                              No. of Pages
            1         Declaration of E. Leif Reid in Support of Plaintiff’s Opposition        2
 3                    to Defendants’ Motion to Compel Las Vegas Sun, Inc. to
                      Respond to Defendants’ First Set of Requests for Production
 4
                      (ECF No. 77)
 5             2      Notice of Entry of Findings of Facts, Conclusions of Law, and          11
                      Order Affirming Arbitration Award, Las Vegas Sun, Inc. v.
 6                    News+Media Capital Group LLC, No. A-18-772591-B (Clark
 7                    County Dist. Ct., Nev. Jan. 28, 2020)
               3      Notice of Entry of Stipulation and Order to Withdraw as Co-             5
 8                    Counsel of Record, Las Vegas Sun, Inc. v. News+Media
                      Capital Group LLC, No. A-18-772591-B (Clark County Dist.
 9                    Ct., Nev. Feb. 10, 2020)
10             4      Defendants’ Motion to Dismiss, Las Vegas Sun, Inc. v.                  99
                      News+Media Capital Group LLC, No. A-18-772591-B (Clark
11                    County Dist. Ct., Nev. May 7, 2018)
               5      Order Granting Plaintiff’s Motion to Compel Arbitration and             2
12
                      Denying Defendants’ Motion to Dismiss, Las Vegas Sun, Inc. v.
13                    News+Media Capital Group LLC, No. A-18-772591-B (Clark
                      County Dist. Ct., Nev. Nov. 21, 2018)
14             6      Excerpts of Hearing Transcript, Las Vegas Sun, Inc. v.                 18
                      News+Media Capital Group LLC, No. A-18-772591-B (Clark
15
                      County Dist. Ct., Nev. Oct. 24, 2018)
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